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   Domb Declaration

                Exhibit 21
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Petersen Energia, S.A.U. & Petersen Energia Inversora, S.A.U.
Calle Ayala, No. 27, 4to 1zquierda
Madrid - Espana
C.P. 28.001




                                                                                   April 8, 2015
                                                                              8 de abril de 2015

Senora Presidenta de la
Nacion Argentina
Dra. Cristina Fernandez de Kirchner
Balcarce 50
C1064AAB, Ciudad de Buenos Aires
Republica Argentina


  Re: Notice of Dispute Under the Agreement on the Reciprocal Promotion and
  Protection of Investments Between the Kingdom of Spain and the Argentine
  Republic

  Ref.: NotificaciOn de controversia bajo el Acuerdo para la Promotion y la
  ProtecciOn Reciproca de Inversiones entre el Reino de Espafta y la Republica
  Argentina


Dear Mme. President:                                 De nuestra consideration:

       I hereby address you as the sole                     Por la presente me dirijo a S.E. como
bankruptcy receiver and representative of            administrador concursal Unico y legitimo
Petersen Energia, S.A.U. ("PESA"), and               representante de Petersen Energia, S.A.U.
Petersen Energia lnversora, S.A.U. ("PEISA")         ("PESA") y Petersen Energia Inversora,
(jointly, the "Investors"), incorporated under the   S.A.U. ("PEISA") (conjuntamente, los
laws of the Kingdom of Spain, to formally notify     "Inversores"), sociedades constituidas segun
the Government of the Argentine Republic (the        las leyes del Reino de Espana, para notificar
"Government," the "Republic," or "Argentina")        formalmente al Gobierno de la Republica
of a dispute between the Investors and Argentina     Argentina (el "Gobierno", la "Republica" o
arising from violations of the Agreement on the      "Argentina") la existencia de una
Reciprocal Promotion and Protection of               controversia entre los Inversores y
Investments Between the Kingdom of Spain and         Argentina surgida como consecuencia de las
the Argentine Republic, signed in Buenos Aires       violaciones del Acuerdo para la Promotion
on October 3, 1991 (the "BIT").                      y la Proteccion Reciproca de Inversiones
                                                     entre el Reino de Espana y la Republica
                                                     Argentina, firmado en Buenos Aires el 3 de
                                                     octubre de 1991 (el "TBI").

          In the 1990's, Argentina privatized its           En los afios 90 Argentina privatize su

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         Petersen Energia, S.A.U. & Petersen Energia Inversora, S.A.U.
         CalleAyala, No. 27, 4to Izquierda
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'i vr AG      28.001

        national oil company, Yacimientos Petroliferos       compafila       hidrocarburifera    nacional,
        Fiscales ("YPF"). As part of that privatization      Yacimientos Petroliferos Fiscales ("YPF").
        and public offering process, the Government '        Como parte del proceso de privatizacion y
        enacted Executive Decree No. 1,106, dated May        del proceso de oferta publica, el Gobierno
        31, 1993, wherein it provided that in the event      ditto el Decreto Ejecutivo No. 1106, con
        the Government ever sought in the future to          fecha 31 de mayo de 1993, en el cual
        acquire a controlling shareholding interest in, or   establecio que, en el caso que el Gobierno
        exercise control over, the newly privatized YPF,     decidiera en el futuro adquirir un interes
        the Government would conduct a public tender         controlante en la recientemente privatizada
        offer for all of the Class D shares of the           YPF, o ejerciera el control sobre la misma,
        company, with the offer price to be determined       el Gobierno haria una oferta pftblica para
        by an agreed formula. The Government's               todas las acciones de la Clase D de la
        commitment was reflected in new YPF by-laws          compailia, y el precio de la oferta seria
        that were adopted as part of the privatization       determinado a traves de una formula
        decree. The clear purpose and intent of this         acordada. El compromiso del Gobierno se
         public tender obligation of the Government, as      vio reflejado en los nuevos estatutos de YPF
         adopted by executive decree and confirmed in        que fueron adoptados como parte del
        the new YPF by-laws, was to induce prospective       decreto de privatizacion. El claro proposito
         investors to acquire shares in YPF based on the     de esta obligation del Gobierno de emitir
         Government's express commitment that it would        una oferta publica, tal cual fuera adoptada
         not retake control of YPF without first making a     por decreto del Ejecutivo y confirmada en
         tender offer for all of the issued Class D shares    los nuevos estatutos de YPF, fue el de
         of the company at an agreed pricing formula.         inducir a futuros inversores a adquirir
         Argentina's commitment not to retake control of      acciones de YPF teniendo en cuenta el
         YPF without conducting a public tender offer         compromiso expreso del Gobierno de no
         was repeatedly reiterated and reaffirmed to          obtener nuevamente el control de YPF sin
          investors, including in the YPF initial public      primero hacer una oferta publica para
         offering prospectus and in numerous filings with     adquirir todas las acciones de la comparlia
          governmental regulatory authorities.                Clase D a traves de una formula acordada
                                                              previamente. El compromiso de Argentina
                                                              de no obtener nuevamente el control de YPF
                                                              sin hacer oferta publica fue reiterado en
                                                               repetidas oportunidades y reafirmado a los
                                                               inversores, entre otras, en el prospecto de
                                                               oferta ptiblica initial de YPF y en
                                                               numerosas presentaciones ante autoridades
                                                               regulatorias gubernamentales.

               Through several purchases made between               A trues de diversas compras
         2008 and 2011, the Investors acquired YPF's          efectuadas entre 2008 y 2011, los Inversores
         Class D shares representing 25.46% of its capital    adquirieron acciones de YPF Clase D que
         stock (14.9% under PESA's control, and 10.56%        representaban el 25,46% de su capital social
         under PEISA's control). At the time the              (14,9% bajo el control de PESA y 10,56%
         Investors acquired their investment in Argentina,    bajo el control de PEISA). Cuando los
         Spain's Repsol, S.A., and its affiliates             Inversores adquirieron sus inversiones en


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      Petersen Energia, S.A.U. & Petersen Energia Inversora, S.A.U.
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      Madrid! Espatia
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         epsol"), owned a majority of YPF's Class D Argentina, Ia compania espafiola Repsol,
      shares, which gave Repsol control over YPF.   S.A. y sus compatifas afiliadas ("Repsol")
                                                    eran duerias de la mayoria de las acciones
                                                    Clase D de YPF, por lo que Repsol tenia el
                                                    control de YPF.

            The dispute between the Investors and                La controversia entre los Inversores y
      Argentina arose in early 2012, when the             Argentina surgio a principios de 2012,
      Government began taking a series of measures        cuando el Gobierno comenzO a tomar
      against YPF that had as their direct and intended   medidas en contra de YPF, las cuales
      consequence a devaluation of the share price of     tuvieron como consecuencia directa e
      company. These measures included, but were not      intencionada la devaluacion del precio de la
      limited to, public statements suggesting an         accion de la compatria. Estas medidas
      impending nationalization of YPF, as well as the    incluyeron, entre otras, las declaraciones
      revocation and threat of revocation of several of   pablicas que sugerian la inminente
      YPF's oil and gas concessions. On April 16,         nacionalizacion de YPF, como asi tambien
      2012 by Decree No. 530/12, the Government           la terminacion, o la amenaza de terminacion,
      formally seized and exercised control of YPF,       de      varias      de    las     concesiones
      unilaterally appointed one of its own Ministers     hidrocarburiferas de YPF. A traves del
      as YPF's intervenor ("Intervenor"), transferred     Decreto No. 530/12, el 16 de abril de 2012
      to the Intervenor all the powers granted by the     el Gobierno formalmente tome y ejercio el
      YPF by-laws to the company's Board and              control de YPF, designo de manera
      President, replaced YPF's top management, and       unilateral a uno de sus ministros de gobierno
      announced legislation that would expropriate        como interventor de YPF (el "Interventor"),
      51% of the company's Class D shares. On May         transfiriendole todos las facultades y
      4, 2012, Argentina enacted Law No. 26,741,          derechos que los estatutos de YPF le
      which provided for the expropriation of 51% of      otorgan al Directorio y al Presidente de la
      YPF's Class D shares under Repsol's control.        compariia, reemplazo a los ejecutivos de
      These actions gave Argentina total and              mayor rango de YPF, y anuncio que
      unequivocal control over YPF.                       sancionaria una ley para expropiar el 51%
                                                          de las acciones Clase D de Ia compatlia. El
                                                          4 de mayo de 2012 el Gobierno sanciono la
                                                          Ley No. 26.741, que dispuso la
                                                           expropiacion del 51% de las acciones Clase
                                                           D de YPF que estaban bajo el control de
                                                           Repsol. Estas medidas dieron a Argentina
                                                           control total e inequivoco sabre YPF.

            These events caused substantial economic            Estos sucesos causaron un dario
      harm to the value of the Investors' shares in       economico significativo en el valor de las
      YPF. Moreover, apart from the loss of asset         acciones que los Inversores tenian en YPF.
      value, the change of control events immediately     Asimismo, ademas de la perdida de valor de
      triggered the Investors' default of the loans       esos bienes, el cambio de control provoca
      executed to acquire YPF's shares between 2008       inmediatamente el incumplimiento de los
      and 2011, with further catastrophic economic        Inversores en los prestamos obtenidos para

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Petersen, ergia, S.A.U. & Petersen Energia Inversora, S.A.U.
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            al consequences to the Investors,        adquirir las acciones de YPF entre los afros
          the foreclosure of the pledges over the    2008 y 2011, con adicionales consecuencias
Investors' shares in YPF. No such losses would       economicas y financieras catastroficas para
have occurred had the Government abided by the       los Inversores, incluyendo la ejecucion de
express provisions in YPF's by-laws when it          las prendas existentes sobre las acciones de
took control of Repsol's controlling                 YPF que pertenecian a los Inversores. Tales
shareholding interest by making a public tender      perdidas no se habrian producido si el
offer for all YPF's Class D shares, including        Gobierno hubiese cumplido las expresas
those of the Investors. By failing to abide by the   previsiones de los estatutos de YPF cuando
tender provisions in the YPF by-laws, Argentina      tomer control del interes controlante que
violated the specific guarantee that the             correspondia a Repsol, y hubiese realizado
Government itself had granted to shareholders in     una oferta pUblica de todas las acciones
YPF, causing massive losses to the Investors.        Clase D de YPF, incluidas las de los
                                                     Inversores. Al haber incumplido las
                                                     obligaciones de realizar oferta pablica de
                                                     acuerdo con los estatutos de YPF, Argentina
                                                     viola la garantia especifica que el Gobierno
                                                     mismo habia otorgado a los accionistas de
                                                      YPF, causando enormes perjuicios a los
                                                      Inversores.

      Having seen the economic value of their               Habiendo visto que el valor de sus
shares substantially impaired, and then been         acciones       habia        sido      afectado
deprived of their investments as a direct            significativamente, y luego de haber sido
consequence of the Government's actions, the         despojados de sus inversiones como
Investors had no other recourse but to file for      consecuencia directa de las medidas del
bankruptcy in Spain. On October 23, 2012, the        Gobierno, los Inversores no tuvieron otra
competent Spanish court declared the initiation      opciem que solicitar su concurso voluntario
of the Investors' bankruptcy proceedings. In         en Espafia. Los concursos de los Inversores
view of the insufficiency of assets to pay the       fueron declarados por el tribunal espafiol
Investors' creditors, on September 3, 2014, both     competente el 23 de octubre de 2012.
companies entered the liquidation phase of their     Debido a la falta de fondos suficientes para
bankruptcy proceedings, with the signatory           satisfacer a los acreedores de los Inversores,
hereto being appointed as the sole court-            el 3 de septiembre de 2014 ambas
appointed liquidator for the Investors.              sociedades entraron en fase de liquidacion,
                                                     donde el que aqui suscribe fue designado
                                                      liquidador Calico de los Inversores.

       As a part of the liquidation plan approved            Como parte del plan de liquidacion
 by Spanish bankruptcy court, and with a view to      aprobado por el juez competente espafiol, y
 seeking compensation for the harm caused to          con el fin de obtener la correspondiente
 Investors by Argentina, the Investors hereby         indemnizacion que les corresponde por el
 notify the Republic of the dispute that arose due    dem causado por Argentina, por la presente
 to the numerous illegal actions in breach of the     los Inversores notifican a la RepUblica de la
 BIT, international law, and Argentine law. The       controversia suscitada a raiz de las


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Madrid - E pafia


      Fnment's illegal actions included, inter alia,    numerosas acciones ilegales en violaciOn del
the de facto and unlawful seizure of YPF's              TBI, del derecho internacional y del derecho
operations, the unilateral appointment of the           argentino. Las acciones ilegales del
Intervenor, the unilateral transfer of powers           Gobierno incluyeron, entre otras, la
granted by the by-laws to the company's Board           apropiacion ilegal y de hecho de las
and President to the Intervenor, the replacement        operaciones de YPF, la designaciOn
of the legitimate members of YPF's Board of             unilateral del Interventor, la transferencia
Directors with the Government's own hand-               unilateral al Interventor de las facultades
picked members, the termination of the dividend         otorgadas por los estatutos de la compaiiia al
distribution policy previously agreed between           Directorio y al Presidente, el reemplazo de
the shareholders and enforced by all YPF's              los legitimos miembros del Directorio de
shareholders and Board members, as well as the          YPF por los miembros que el Gobierno
confiscation      of      Repsol's      controlling     designO discrecionalmente, la terminacion
shareholding interest without first complying           de la politica de distribucion de dividendos
with the public tender provisions of the YPF's          previamente acordada por los accionistas y
by-laws to which the Government had approved            puesta en ejecucion por los accionistas de
 and agreed to comply.                                  YPF y por los miembros del Directorio,
                                                        como asi tambien la confiscacion del inter&
                                                        accionario controlante que correspondia a
                                                        Repsol sin haber cumplido primer() con las
                                                        previsiones sobre oferta pablica establecidas
                                                        en los estatutos de YPF que el Gobierno
                                                        habia aprobado y se habia comprometido a
                                                        cumplir.

        These Government measures, inter alia,                 Estas medidas del Gobierno, entre
violated the Republic's obligations under the           otras, violaron las obligaciones de la
BIT toward the Investors in Argentina, including        Repablicas asumidas en el TBI con relacion
but not limited to the obligations to (i) accord        a los Inversores en Argentina, incluyendo,
fair and equitable treatment to investments, (ii)       entre otras, las obligaciones de: (i) otorgar
not to obstruct, by unjustified or discriminatory       tratamiento justo y equitativo a las
measures, the management, maintenance, use,             inversiones, (ii) no obstruir, a traves de
enjoyment, extension, sale and, where                   medidas injustificadas o discriminatorias, la
appropriate, liquidation of such investments,           gestion, mantenimiento, utilizacion, disfrute,
(iii) not to nationalize, expropriate or adopt any      extension, yenta o, en su caso, liquidacion
other measures having similar characteristics or        de tales inversiones, (iii) no nacionalizar,
effects, except for the public interest, in             expropiar o adoptar cualquier otra medida
accordance with the law, and in a non-                  de caracteristicas o efectos similares,
discriminatory manner, upon payment of                  excepto por causas de utilidad pablica,
appropriate compensation, without undue delay,          conforme a las disposiciones legales, y de
and in freely convertible currency, and (iv)            forma no discriminatoria, mediando el pago
accord treatment no less favorable than that            de una indemnizacion adecuada, sin demora
accorded by Argentina to investments made in            injustificada, y en moneda libremente
 its territory by investors of a third country or its   convertible, y (iv) otorgar tratamiento no
own nationals.                                           menos favorable que el otorgado por


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Petersen Energia, S.A.U. & Petersen Energia Inversora, S.A.U.
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   (1'4\                                               Argentina a inversiones realizadas en su
                                                       territorio por inversores de otros paises o de
                                                       sus propios nacionales.

      The Investors also invoke the most-                     Los Inversores tambien invocan la
favored-nation clause under Article IV(2) of the       clausula de nation mas favorecida del
BIT ("MFN Clause"), and assert that the                Articulo IV(2) del TBI (la "Clausula de
Government's conduct violated the so-called            NMF") y afirman que las acciones del
"umbrella clause" that exists in other BITs that       Gobierno violaron la Hamada "clausula
Argentina has signed with third countries, like        paraguas" que se encuentra en otros TBIs
Austria, Chile, Guatemala, Switzerland,                que Argentina firmo con otros paises, como
Netherlands, New Zealand, United Kingdom,              con Austria, Chile, Guatemala, Suiza,
and the United States of America, among others.        Holanda, Nueva Zelanda, el Reino Unido y
The "umbrella clause" covers all violations of         los Estados Unidos de America, entre otros.
obligations that Argentina entered into with           La "clausula paraguas" cubre todas aquellas
regard to the Investors' investments, including        violaciones de obligaciones que la Argentina
but not limited to the public tender provisions        acordo con relacion a las inversiones de los
contained in the YPF by-laws approved and              Inversores, incluyendo, entre otras, las
adopted by the Government and YPF's                    previsiones sobre oferta pfiblica contenidas
shareholders, and the Investors are entitled to        en los estatutos de YPF aprobados y
invoke that substantive protection as an               adoptados por el Gobiemo y por los
additional     claim      against     Argentina,       accionistas de YPF, y los Inversores tienen
notwithstanding any legal actions that may also        derecho a invocar esa protection sustancial
be brought against YPF, its current or former          como un reclamo adicional en contra de la
Directors, or whoever may have exercised its           Argentina, sin perjuicio de las acciones que
powers, and the other shareholders.                    tambien corresponda iniciar en contra de
                                                       YPF, sus Directores presentes o pasados,
                                                       como quienes hayan asumido las facultades
                                                       del mismo, y contra los demas accionistas.

       The Investors hereby inform the Republic              Los Inversores informan a la
that they are prepared to undertake negotiations       Republica que estan dispuestos a mantener
in an effort to settle the dispute. Please advise us   negociaciones en un esfuerzo por resolver la
in writing promptly upon receipt of this notice        controversia a traves de un acuerdo. Les
letter of the contact information of the person or     rogamos que nos informen por escrito a la
persons with whom we may begin such                    brevedad posible, una vez recibida la
negotiations.                                          presente carta de notification, los datos de
                                                       contacto de la persona o personas con
                                                       quienes podamos comenzar tales
                                                       negociaciones.

      In the event that no negotiations take             En caso de que las negociaciones no
place, or do take place but do not resolve the    se realicen, o se realicen pero no resuelvan
dispute, the Investors will immediately institute la controversia, los Inversores iniciaran de
arbitration proceedings as agreed to by inmediato un procedimiento de arbitraje

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           a; No. 27, 4to Izquierda
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Argentina in the BIT. The Investors hereby              segue lo acordado por Argentina bajo el
invoke the MFN Clause of the BIT, in order to           TBI. Par la presente los Inversores invocan
avoid any requirement to previously refer the           la Clausula de NMF del TBI para evitar
current dispute to the Argentine courts or to           cualquier requisito de someter la disputa a
fulfill a specific waiting period before initiating     los tribunales locales argentinos o para
their claim. Indeed, many foreign investors from        cumplir con algOn period° de espera
countries other than Spain receive a more               especifico antes de iniciar el arbitraje. En
beneficial treatment because their corresponding        efecto, muchos inversores extranjeros
BITs do not have such pre-filing requirements.          provenientes de paises distintos a Espana
That is the case, for instance, of Australian           reciben un tratamiento mas beneficioso dado
investors under the Argentina-Australia BIT.            que sus correspondientes TBIs no establecen
Consequently, since Argentina gave to, for              tales requisitos previos. Tal es el caso, por
example, Australian investors a more beneficial         ejemplo, de los inversores australianos bajo
treatment (i.e., by not requiring them to               el      TBI      Argentina-Australia.      En
previously refer disputes to local courts or to         consecuencia, dado que Argentina dio a
fulfill a specific waiting period), the Investors       tales inversores un tratamiento mas
are entitled to receive a similar treatment.            beneficioso (esto es, al no requerirles el
Therefore, if Argentina does not promptly settle         previo sometimiento del caso a los
the dispute, the Investors will institute arbitration    tribunales locales o el cumplimiento de
 proceedings.                                            periodo especifico de espera), los Inversores
                                                         tienen derecho a recibir un tratamiento
                                                         similar. De ese modo, si Argentina no
                                                         soluciona rapidamente la controversia
                                                         mediante un acuerdo, los Inversores
                                                         comenzaran un procedimiento de arbitraje.

      The Investors write this letter in both the         Esta carta ha sido redactada en ingles
English and Spanish languages. In case of y en esparto!. En caso de discrepancia entre
discrepancies, the English shall prevail.         uno y otro idioma prevalecerd la version en
                                                  ingles.

       Yours sincerely,                                        Atentamente,




                                     Armando etancor Alamo
                                     Administrador Concursal
                                       Bankruptcy Receiver

   Cc:     Procuradora del Tesoro de la Nacion
           Dra. Angelina Abbona
           Posadas 1641
           C1112ADC, Ciudad de Buenos Aires
           Repdblica Argentina

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Madrid - Espana
C.P. 28.001


         Presidente del Directorio de YPF S.A.
         Ing. Miguel Matias Galuccio
         Macacha Gilemes 515
         C1106BKK, Ciudad de Buenos Aires
         Repfiblica Argentina
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                                     LEGITIMACION DE FIRMA.- Yo JAIME RECARTE CASANOVA,

                              Notario del Ilustre Colegio de Madrid, DOY FE Y LEGITIMO la firma quo

                              antecede de DON ARMANDO BETANCOR ALAMO con DNI/NIF nOmero
               SELO DE
           LEGMMACIONES Y     43767726-Z por ser de mi, el Notario conocida y haciendo constar que he
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                                                  2. ha sido firmado por D. Jaime Recede Casanova
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                                                                                     Certified / Attest!)
                                                  5. en Madrid                  6. el dia       08 . abril . 2015
                                                      at la                          the / le
                                                  7. por el Decano del Colegio Notarial de Madrid
                                                      by / par
                                                  8. bajo el numero           022334
                                                      N° / sous n°
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                                                     Seal I stamp I Sceau I timbre                          Sign re: /Signature:




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